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                                          Medical Records
Civil Action Number: 2:17-01146
Claimant:            Trish Ann Fontana
Account Number:      XXX-XX-XXXX

                                                 Exhibits
Exhibit                                                                                              No. of
No.          Description                                                           Page No.          Pages
3F           Office Treatment Records, dated 01/18/2010 to 03/24/2011,               227-271            45
             from David J. Mance, DPM-JRMC Diagnostic Services
             Brentwood

DATE: April 18, 2018
The documents and exhibits contained in this administrative record are the best copies obtainable.
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